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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 ------------------------------------------------------------ X                9/10/2019
                                                              :
 UNITED STATES OF AMERICA,                                    :
                                                              :
                                                              :     16 Cr. 763 (LGS)
                            -against-                         :
                                                              :   OPINION AND ORDER
 PAUL J. MATHIEU,                                             :
                                              Defendant. :
 ------------------------------------------------------------ X

LORNA G. SCHOFIELD, District Judge:

          After a six-week jury trial, Defendant Paul J. Mathieu was convicted of conspiracy to

commit health care fraud, mail fraud and wire fraud, conspiracy to make false statements relating

to health care matters, and the substantive crimes of health care fraud, mail fraud and wire fraud.

Defendant moves for a judgment of acquittal pursuant to Rule 29,1 or in the alternative, seeks a

new trial pursuant to Rule 33. For the reasons stated below, the motion is denied.

          Background

          A.     Summary of the Government’s Case

          At trial, the Government presented evidence that Defendant, a physician who is board

certified in internal medicine and infectious disease, established a private medical practice called

the Medical Office of Dr. Paul J. Mathieu P.C. in 2002. In late 2006 or early 2007, Defendant

met Aleksandr Burman, who was looking for a doctor to see patients at his clinic in Brooklyn.

Burman recruited Defendant to work at his clinic at 2647 Coney Island Avenue and agreed to

pay Defendant’s overhead and salary.

          Beginning in 2007, Defendant helped Burman create medical professional organizations,

which required a licensed physician as the owner. Defendant represented himself as the owner


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    All references to rules herein are to the Federal Rules of Criminal Procedure.
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when in fact Burman was the owner. For example, Defendant signed a certificate of

incorporation for Sunlight Medical P.C. (“Sunlight Medical”), and identified himself as the

entity’s incorporator and sole shareholder, director and officer. Defendant reassigned his

Medicare benefits to Sunlight Medical and signed an Electronic Funds Transfer Authorization

Agreement (“EFT”), as the “Authorized/Delegated Official” of Sunlight Medical. Defendant

signed similar documents for Ocean View Medical of Brooklyn P.C., representing himself as the

sole owner of the corporation, when he was not the owner.

       In addition to representing himself as the owner of the clinics, Defendant signed

prescriptions and superbills for medically unnecessary adult incontinence supplies for patients

whom he never examined. The Government presented evidence that Universal Supply Depot

(“USD”), a medical supply company operated by Burman and his wife, faxed a list of patient

names to the clinics on a weekly basis. Based on the USD list, the front desk receptionists at the

clinics, including cooperating witness Olga Kharuk, prepared the patient charts, superbills and

prescriptions for Defendant to sign. Defendant came to the clinics twice a week to sign the

documents. Frequently, Defendant signed the prescriptions and either stamped or wrote the

words “chux, diapers, liners, pants,” and allowed the clinic staff to fill in the remainder of the

prescription, including the name of the patient, date, diagnosis code, quantity of each product and

number of refills. After Defendant signed the documents, the office staff delivered them to the

individuals responsible for billing Medicare and Medicaid on behalf of the clinics, which then

billed for the services detailed on the superbills. On the prescriptions, the clinic staff usually

wrote the number “5” in the refill box, allowing USD to bill Medicaid a total of six times for

each prescription. Medicaid sent Defendant a letter in 2009, informing him that he was the top-




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ranked prescriber of adult incontinence products in the state of New York for the six-month

period ending September 30, 2000 (the “peer comparison data”).

       In the aftermath of Hurricane Sandy in October 2012, the clinics closed and Medicare

suspended its reimbursement payments and deactivated several of the clinics. However, the

clinic at 3057 Coney Island Avenue was not deactivated until several months later. On at least

three occasions in February 2013, Kharuk met Defendant at the closed clinic at 3057 Coney

Island Avenue to sign prescriptions for patients on the USD list. Defendant received checks

from Burman on the same days that he signed the prescriptions.

       B.      Summary of Defendant’s Case

       Defendant testified and denied making knowingly false statements to Medicare or

Medicaid, knowingly serving as the nominal or paper owner of any clinic and falsifying

documents and receiving compensation for doing so. Defendant testified that he signed

documents without reading them because he trusted the management at the clinics where he

worked, and he had no recollection of signing the Medicare or Medicaid enrollment forms. He

denied that he wrote prescriptions based on a list from USD or that he met with Burman behind

“closed doors.” He explained that he saw patients at the Burman clinics from 2007 until 2013

and prepared the medical portions of the progress notes, superbills and referrals and wrote

prescriptions that were medically necessary based on his examination of patients or review of

their charts. Defendant showed the jury several progress notes and referrals that he had

completed based on his observations during patient examinations.

       With respect to the number of refills listed on the prescriptions, Defendant testified that

he did not write “5” in the “refill” box on the prescriptions and someone else inflated the number

of incontinence products prescribed. He stated that he never received and was unaware of any



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letter from the Office of the Medicaid Inspector General that listed him as the number one

supplier of adult incontinence products for six months in 2009.

       When questioned about why Defendant wrote several $9,500.00 checks, totaling

$90,000.00, to Burman-owned entities in 2008, Defendant responded that a clinic administrator,

Valery Volsky, directed him to write the checks because the money -- Medicare and Medicaid

reimbursements -- came to his account by mistake. Defendant testified that on another occasion,

Volsky directed him to sign a book of blank checks to reimburse the insurance companies, and

he complied because he trusted the management.

       Defendant’s case also included testimony from two character witnesses and an expert

witness, Dr. Richard Slutsky, a specialist in internal medicine. As relevant here, Dr. Slutsky

testified that the standard of care for making a diagnosis of adult incontinence is satisfied when

the patient tells a doctor that they have incontinence; a prescription for incontinence products is

medically necessary if a patient complains about incontinence; and prescriptions may be properly

based on a review of a patient’s medical chart rather than a face-to-face visit.

       DISCUSSION

       A.      Sufficiency of the Evidence

               1. Rule 29 Legal Standard

       Defendant’s motion for judgment of acquittal pursuant to Rule 29 is denied. Under Rule

29, Defendant must show that “no rational trier of fact, viewing the evidence in the light most

favorable to the government, could have found [defendant] guilty beyond a reasonable doubt of

the essential elements of the crimes charged.” United States. v. Desena, 287 F.3d 170, 176 (2d

Cir. 2002); accord United States v. Lee, 834 F.3d 145, 152 (2d Cir. 2016). “A defendant

challenging the sufficiency of the evidence bears a heavy burden.” Lee, 834 F.3d at 152. The



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Court considers “items of evidence not in isolation but in conjunction . . . [and] defer[s] to the

jury’s evident assessments of the credibility of the witnesses and its resolution of the weight of

the evidence.” United States v. O’Brien, 926 F.3d 57, 79-80 (2d Cir. 2019). The Court “credit[s]

every inference that the jury could have drawn in the government’s favor . . . , [and] must affirm

the conviction so long as, from the inferences reasonably drawn, the jury might fairly have

concluded guilt beyond a reasonable doubt.” Id. at 80.

               2. The Evidence was Sufficient

       Viewing the evidence presented in the Government’s case in chief in the light most

favorable to the Government, as required on a Rule 29 motion, a rational trier of fact could have

concluded that the essential elements of the alleged substantive crimes and conspiracy charges

were established beyond a reasonable doubt. Defendant’s motion is accordingly denied.

       An essential element of the substantive crimes of wire fraud, mail fraud and health care

fraud is that the defendant knowingly and willfully participated in the scheme to defraud. See 18

U.S.C. §§ 1341 (mail fraud), 1343 (wire fraud), 1347 (health care fraud); United States v.

Weaver, 860 F.3d 90, 94 (2d Cir. 2017) (mail fraud and wire fraud); United States v. Kuthuru,

665 F. App’x 34, 40 (2d Cir. 2016) (summary order) (health care fraud). Only this element of

the charges is at issue here. The jury was instructed that the Government was required to prove

knowing and willful participation beyond a reasonable doubt; and that “knowingly means to act

voluntarily and deliberately rather than mistakenly or inadvertently,” and willfully means “to act

knowingly and with a bad purpose.”

       To prove the conspiracy charges, the Government was required to prove beyond a

reasonable doubt that “the person charged with conspiracy knew of the existence of the scheme

alleged in the indictment and knowingly joined and participated in it.” United States v. Lorenzo,



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534 F.3d 153, 159 (2d Cir. 2008) (quoting United States v. Rodriguez, 392 F.3d 539, 545 (2d Cir.

2004)). “[A] defendant’s knowing agreement to join a conspiracy must, more often than not, be

proven through circumstantial evidence.” Id. at 161 (quoting United States v. Nusraty, 867 F.2d

759, 764 (2d Cir. 1989)). “Indeed, the existence of the conspiracy and a defendant’s

participation therein may be proven based solely on circumstantial evidence.” United States v.

Siembida, 604 F. Supp. 2d 589, 594 (S.D.N.Y. 2008), aff’d sub nom. United States v. Price, 374

F. App’x 189 (2d Cir. 2010) (citing United States v. Pitre, 960 F.2d 1112, 1121 (2d Cir. 1992)).

       Defendant argues that he is entitled to a judgment of acquittal because the Government’s

evidence at trial was insufficient to show that he had acted with the requisite intent. Defendant

contends that the Government did not offer sufficient evidence that (1) he knowingly and

willfully made false representations to Medicare and Medicaid; (2) he knowingly and willfully

participated in the conspiracy; and (3) that the superbills are indicative of Defendant’s intent.

The Government’s evidence was more than sufficient for the jury to conclude beyond a

reasonable doubt that Defendant acted with the requisite knowledge and intent to sustain the

charges.

                           a. Fraudulent Misrepresentations to Medicare and Medicaid

       The Government presented sufficient evidence for a reasonable jury to conclude that

Defendant knowingly and willfully misrepresented to Medicare and Medicaid that he was the

owner of the clinics Sunlight Medical and Ocean View. Defendant testified that he knew

Burman was the owner of Sunlight Medical. The Government presented evidence that, despite

this knowledge, Defendant identified himself on Sunlight Medical’s certificate of incorporation

as the sole shareholder, director and officer. On December 1, 2007, Defendant signed the

Medicare enrollment application for Sunlight Medical, which listed only Defendant’s name and



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information in the section that required disclosure of any individuals with an ownership interest

and/or managing control. On the same day, Defendant reassigned his Medicare benefits to

Sunlight Medical and signed an Electronic Funds Transfer Authorization Agreement. In both

cases, Defendant signed as the “authorized or Delegated Official” of Sunlight Medical. In May

2008, Defendant signed documents to enroll Sunlight Medical in Medicaid, including a

“Disclosure of Ownership and Control” document that identified him as the sole person with

ownership or control of Sunlight Medical. The evidence showed that Defendant signed

Medicaid certifications as an officer or director of Sunlight Medical seven times between April

2009 and September 2012.

       Defendant made similar representations to incorporate Ocean View and enroll the clinic

in Medicare and Medicaid. In the Medicaid enrollment forms, Defendant described himself as

the 100% owner of Ocean View, despite telling the jury that he did not own Ocean View. That

Defendant was seeing patients or that he only signed the forms and did not “prepare them” has

no bearing on whether he repeatedly misrepresented himself as the owner of Sunlight Medical or

Ocean View.

       Defendant testified that he signed the Medicare and Medicaid documents without

fraudulent intent because he trusted the administrative staff at the clinic and the people from the

billing company when they presented him with documents to sign. That the jury did not accept

his explanation is not grounds for acquittal. See United States v. Bonventre, 646 F. App’x 73, 84

(2d Cir. 2016) (summary order) (“To the extent that [defendant] invites this court to re-weigh

evidence, draw inferences in his favor, or re-assess credibility, the jury verdict precludes such

undertakings.”).




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                              b. Participation in the Conspiracy

       Based on the Government’s evidence, a reasonable juror could conclude that Defendant

wrote prescriptions for medically unnecessary supplies for patients he never saw. The

Government’s cooperating witnesses Olga Kharuk and Anastasia Flora both testified that

Defendant signed charts and prescriptions based on a list that USD faxed to the clinics without

Defendant’s seeing or examining the patients listed. The Government corroborated this

testimony by presenting evidence of prescriptions signed by Defendant for incontinence products

for Svetlana Tashlyk. Tashlyk testified that she visited USD -- where she believed they copied

her Medicare and Medicaid cards -- but she never went to a medical clinic on Coney Island,

never met Defendant nor received a prescription for adult diapers.

       Kharuk also testified that in February 2013, she met Defendant “two or three times” at

the clinic at 3057 Coney Island Avenue when the clinic was closed so that Defendant could sign

prescriptions for the names on the USD list. To support Kharuk’s testimony, the Government

showed the jury stacks of prescriptions dated February 7, 21 and 28, 2013, from the meetings

with Kharuk, which Defendant admitted he had signed. The Government presented telephone

cell site evidence that placed Defendant in South Brooklyn for a few hours on the same days, and

checks from USD signed by Burman to Defendant with the dates on the checks corresponding to

the dates of the signed prescriptions. The Government was not required to produce the USD lists

themselves as evidence of Defendant’s fraudulent intent, as Defendant argues. Here, the

witnesses’ testimony, corroborated by checks, cell site data and prescriptions, was sufficient for

the jury to conclude beyond a reasonable doubt that Defendant had the requisite intent.

       Defendant argues that the jury could not reasonably infer Defendant’s knowing and

willing participation in the conspiracy because no witness testified about conversations with



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Defendant after 2007 that would support that conclusion. The Government was not required to

produce Defendant’s admission of his knowledge of the fraud. A “jury’s verdict may be based

entirely on circumstantial evidence.” United States v. Rutigliano, 790 F.3d 389, 402 (2d Cir.

2015); accord United States v. Romano, 794 F.3d 317, 335 (2d Cir. 2015). The jury reasonably

could have based its verdict on the Government’s circumstantial evidence. Kharuk testified that

she witnessed Burman and Defendant meet individually more than 10 times for 30 minutes to an

hour. In advance of the meetings, Burman explained to Kharuk that he needed to talk to

Defendant about getting prescriptions for incontinence products and instructed her that

Defendant and Burman should not be disturbed. At the end of the meetings, Burman emerged

with signed prescriptions, which he sometimes asked Kharuk to deliver to USD. Considered in

totality with the signed prescriptions, cell site data and other witness testimony described above,

the Government’s circumstantial evidence could lead a reasonable jury to conclude beyond a

reasonable doubt that Defendant knowingly and willfully participated in the fraud.

       Defendant argues that the cooperating witness testimony was too attenuated and weak for

the jury to infer Defendant’s intent, and that there was no evidentiary basis for the jury to reject

Defendant’s testimony and progress notes evidencing his examinations of patients from 2008 to

2013. To the extent that Defendant challenges the witnesses’ credibility based on their

cooperation and non-prosecution agreements with the Government, it is not the court’s role to

“second-guess a jury’s credibility determination on a sufficiency challenge.” United States v.

Florez, 447 F.3d 145, 156 (2d Cir. 2006). The jury could reasonably credit the testimony of the

cooperating witnesses over the testimony of Defendant and his expert witness. See United States

v. Autuori, 212 F.3d 105, 118 (2d Cir. 2000) (“It is not for the court on a Rule 29 motion to make

credibility determinations: A trial judge [is] not entitled to set aside [a] guilty verdict simply



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because he would have reached a different result if he had been the fact-finder.”) (alterations in

original).

                               c. Superbills

        At trial, the Government produced superbills signed by Defendant listing dates that he

purportedly provided services but corresponding to dates when he admittedly was out of the

country; superbills listing dates of service when cell site data showed that he was far from the

clinics in South Brooklyn; and superbills listing dates of services performed at a clinic location

where Defendant admitted he had never worked. Defendant argues that the signed superbills are

not indicative of his intent. Regardless of whether the superbills alone are sufficient to prove

Defendant’s intent, a reasonable jury could infer Defendant’s knowing participation in the

scheme to defraud based on the totality of the evidence -- including testimony of the cooperating

witnesses, who described the process of preparing for Defendant’s signature superbills, referrals,

progress notes, and patient charts for patients, some of whom never visited the clinic. That the

superbills were not submitted to Medicare is irrelevant; the clinics sent the superbills to billing

companies that subsequently billed the Government on behalf of the clinics.

        Even without the superbills, the evidence described above showing fraudulent

prescriptions for phantom patients was enough for the jury to find that Defendant had the

requisite intent to defraud. See United States v. Muse, No. 06 Cr. 600, 2007 WL 1989313, at *22

(S.D.N.Y. July 3, 2007), aff’d sub nom. United States v. Awad, 369 F. App’x 242 (2d Cir. 2010)

(“There is no legal requirement [] that the Government prove its case through any particular

means.”).




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       B.        New Trial

                 1. Rule 33 Legal Standard

       Under Federal Rule of Criminal Procedure 33, a district court may “vacate any judgment

and grant a new trial if the interest of justice so requires.” In evaluating a Rule 33 motion, the

court must “examine the entire case, take into account all facts and circumstances, and make an

objective evaluation,” keeping in mind that the “ultimate test” for such a motion is “whether

letting a guilty verdict stand would be a manifest injustice.” United States v. Alston, 899 F.3d

135, 146 (2d Cir. 2018), cert. denied, 139 S. Ct. 1282 (2019). While the Court has “broader

discretion to grant a new trial under Rule 33 than to grant a motion for acquittal under Rule 29,”

it must nonetheless “exercise the Rule 33 authority sparingly and in the most extraordinary

circumstances.” United States v. Ferguson, 246 F.3d 129, 134 (2d Cir. 2001) (quotation marks

omitted); accord United States v. Bayuo, No. 15 Cr. 576, 2019 WL 430260, at *1-2 (S.D.N.Y.

Feb. 4, 2019).

                 2. The Government’s Characterization of Peer Comparison Data

       Defendant’s motion for a new trial based on the Government’s characterization of peer

comparison data is denied. The Government’s statements at trial that Defendant was the

“number one” prescriber of adult diapers in New York in 2009, 2010, and 2012 and number two

in 2011 were not improper and, in any event, do not warrant a new trial. Indeed, Defendant was

the top prescriber of adult incontinence products in New York in 2009, 2010 and 2012,

according to state records introduced at trial and a witness from the Office of the Medicaid

Inspector General.

       Defendant argues that the evidence at trial showed that the clinic staff -- rather than

Defendant himself -- wrote “5” on the prescription forms to indicate the number of permissible



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refills, thus inflating the number of prescriptions actually attributable to Defendant and resulting

in overstated peer comparison data. Even if the Government knew that the peer comparison data

was not entirely attributable to Defendant as Defendant avers, the Government’s references to

the peer comparison data and “aggressive” cross-examination of Defendant based on that data

were not improper. Although the clinic staff may have marked “5” on prescriptions signed by

Defendant, he knowingly signed prescription forms for patients he did not examine, left the refill

box blank for the clinic staff to complete, and did not check the box indicating that there should

be no refills. He thereby advanced the scheme that resulted in his being the number one

prescriber of adult diapers according to state records.

       Nor was evidence of the peer comparison data so prejudicial that letting the guilty verdict

stand would be a “manifest injustice.” Defendant made similar arguments to the jury as those he

makes here. The jury was free to evaluate the arguments of both Defendant and the Government,

weigh the evidence and draw the inferences it thought correct. Also, as discussed above, the

Government presented more than sufficient evidence that Defendant wrote fraudulent

prescriptions to convict him on that basis alone. The Government did not misuse the data

showing Defendant’s rank among physicians statewide as a prescriber of adult incontinence

products, and even if it had, there is no basis for ordering a new trial.

               3. The Government’s Cross-examination of Defendant Regarding the
                  Employment of Valery Volsky

       A new trial is not warranted based on the Government’s cross-examination of Defendant

regarding co-conspirator Valery Volsky. A court assessing allegations of prosecutorial

misconduct should consider “the severity of the misconduct, the measures adopted to cure it, and

the certainty of conviction in the absence of the misconduct.” United States v. Truman, 688 F.3d

129, 144 (2d Cir. 2012) (alterations omitted); accord United States v. Lumiere, 249 F. Supp. 3d

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748, 762 (S.D.N.Y. 2017). A new trial is appropriate “only when the statements, viewed against

the entire argument before the jury, deprived the defendant of a fair trial.” United States v.

Bermudez, 529 F.3d 158, 165 (2d Cir. 2008).

       During the Government’s cross-examination, the Government asked why Defendant

wrote six $9,500.00 checks on February 29, 2008, to Sunlight Management, a Burman-owned

entity. Defendant explained that Volsky directed him to write the checks in February and March

2008. In response, the Government asked whether Volsky “did not even begin working for the

Burman clinics until some months later.” Defendant replied, “I don’t recall when she started to

work or even when she stopped working for Burman; but Volsky and perhaps also the billing

company, WCH, gave me that instruction.” Defendant now submits the affidavit of Olga

Khabinskay, stating that Volsky did in fact work at the clinic as early as 2007. Defendant argues

that the exchange on cross-examination prejudiced Defendant and implied that he lied when he

said that Volsky directed him to write the checks.

       Based on the Government’s detailed analysis of the evidence as well as a confirmatory

telephone call with Volsky’s counsel after Defendant’s testimony, it appears that the

Government was correct; Volsky did not work at the clinics in February 2008. Whether or not

she did, the Government had a good faith basis for asking the question, and Defendant is not

entitled to a new trial. Accordingly, there is no evidence that the Government engaged in

prosecutorial misconduct.

       Even if the Government were incorrect about the onset of Volsky’s employment, the

questioning did not result in manifest injustice that would warrant a new trial. The Government

was asking in substance whether Defendant had an innocent reason for writing the checks, and

he replied in substance with his defense -- that one of the conspirators had instructed him to do



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so, and that he unwittingly had complied. That Defendant may not have remembered after the

passage of 11 years precisely who instructed him does not seem to be highly probative of his

credibility. There is no reason to think that the jury’s verdict was a seriously erroneous result

based on this evidence.

                4. Cumulative Effect of Prosecutorial Errors

        Taken together, the prosecutorial errors that Defendant cites do not justify a new trial.

“Even where individual instances of prosecutorial misconduct, ‘standing alone, might not justify

reversal,’ a defendant is entitled to post-trial relief when the cumulative effect of the prosecutor’s

persistent and clearly improper [tactics] amounted to such egregious misconduct as to render [the

defendant’s] trial fundamentally unfair.” United States v. Connolly, No. 16 Cr. 370, 2019 WL

2120022, at *29 (S.D.N.Y. May 2, 2019) (quoting Floyd v. Meachum, 907 F.2d 347, 353, 357

(2d Cir. 1990) (alterations in original)). “It is well-settled in this circuit that the effect of

multiple errors in a single trial may cast such doubt on the fairness of the proceedings that a new

trial is warranted, even if no single error requires reversal.” United States v. Fell, 531 F.3d 197,

233 (2d Cir. 2008). “Nonetheless, not every error [--] whether alone or in combination with

others [--] warrants a new trial.” Id. With respect to prosecutorial misconduct, “[t]he touchstone

of due process analysis . . . is the fairness of the trial, not the culpability of the prosecutor.”

Smith v. Philips, 455 U.S. 209, 219 (1982); accord Connolly, 2019 WL 2120022, at *30.

        First, Defendant argues that during the redirect examination of cooperator Anastasia

Flora, the Government misled the jury with respect to when Flora sent an unsolicited email to the

Government. Flora testified that she sent the email after FBI Special Agent Blatt came to her

home in June 2016. Flora then testified that she wrote a second email to the FBI before she met

with the prosecutors at the U.S. Attorney’s Office. The Government repeated Flora’s testimony



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in its summation, stating “[b]efore any prosecutor had ever even met with her and before she

even had an attorney, she [sent an] email to the FBI agent telling him that Dr. Mathieu never ever

saw any patients and that he came to the office just to sign the charts.” In fact, Flora sent the

second email to the FBI after her interview with prosecutors. Defendant argues that Flora’s

statement was misleading because it suggested to the jury that she sent the second email to the

FBI unprompted, but in actuality she had met with the U.S. Attorney’s office days prior to

sending the email.

       Second, Defendant argues that the Government misled the jury in summation by stating

that Defendant met with Burman at the clinics behind closed doors “every week,” when, in fact,

Kharuk testified that Defendant and Burman met “quite a few” times and “more than ten.”

       The Government concedes that both of these errors occurred. Taken together, they do not

constitute grounds for a new trial. See Fell, 531 F.3d at 209 (“[R]emarks of the prosecutor in

summation do not amount to a denial of due process unless they constitute egregious

misconduct.”); accord Connolly, 2019 WL 2120022, at *26. With respect to Flora’s testimony,

Defendant takes issue with the implication that Flora’s second email was “unprompted.”

Defendant, however, was not unfairly prejudiced by this implication because, after Flora was

cross-examined, the Government directly asked whether anyone asked her to send the second

email, and she testified that no one had. With respect to the frequency of Defendant’s closed

door meetings with Burman, ostensibly for the purpose of Defendant’s signing fraudulent

documents, regardless of how many times Defendant met with Burman, three witnesses testified

that Defendant came to the clinics weekly to sign fraudulent prescriptions for patients on the

USD list. The jury’s verdict was thus supported by “compelling evidence,” including hours of

testimony from cooperating witnesses and hundreds of documents signed by Defendant in



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furtherance of the fraud. See United States v. Jackson, 345 F.3d 59, 78 (2d Cir. 2003). In light

of the extensive evidence offered at trial, that the prosecutors misrepresented the chronology of

when Flora sent an email and the extent to which Defendant met with Burman “behind closed

doors,” is not so egregious as to constitute misconduct that warrants a new trial.

       CONCLUSION

       For the foregoing reasons, Defendant’s motion for a judgment of acquittal or, in the

alternative, a new trial, is DENIED.

       The Clerk of Court is respectfully directed to close the motion at Docket Number 657.

Dated: September 10, 2019
       New York, NY




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